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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                         CASE NO. 1:05-CR-163
v.
                                                         HON. ROBERT HOLMES BELL
DAMOND DSHAN BEAN,

              Defendant.
                                   /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1015). Based on a

review of Defendant’s motion, the Sentence Modification Report, submissions by

counsel, and the original criminal file, the Court has determined that the motion should be

denied as follows:

       Defendant was sentenced on Count 1 of a Fourth Superseding Information

charging Conspiracy to Distribute and Possession with Intent to Distribute 50 Grams or

More of Cocaine Base, 5 Kilograms or More of Cocaine, 1 Kilogram or More of Heroin,

and 100 Kilograms or More of Marijuana in violation of 21 U.S.C. §§846, 841(1)(1), and

(b)(1)(A). Defendant was sentenced as a career offender within the meaning of U.S.S.G.

§ 4B1.1(a). In addition, cocaine base was not used in the computations to determine the

base offense level. As such, defendant is ineligible for a reduction in sentence.
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Accordingly,

      Defendant’s Motion for Modification or Reduction of Sentence (docket #1015) is

DENIED.




Dated: August 2, 2011                  /s/ Robert Holmes Bell
                                       ROBERT HOLMES BELL
                                       UNITED STATES DISTRICT JUDGE
